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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



FRANCESCA GINO,

                           Plaintiff,

                           v.                           No. 1:23-CV-11775-MJJ

PRESIDENT AND FELLOWS OF HARVARD
COLLEGE, SRIKANT DATAR, URI
SIMONSOHN, LEIF NELSON, JOSEPH
SIMMONS, JOHN DOES 1-10, AND JANE DOES
1-10,

                           Defendants.




      PROPOSED BRIEF OF AMICI CURIAE AMERICAN CIVIL LIBERTIES
UNION AND AMERICAN CIVIL LIBERTIES UNION OF MASSACHUSETTS, INC.
                   IN SUPPORT OF NEITHER PARTY


Tyler Takemoto*                          Kirsten V. Mayer (BBO # 641567)
Vera Eidelman*                           Jessie J. Rossman (BBO # 670685)
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                        CORPORATE DISCLOSURE STATEMENT

       The American Civil Liberties Union and the American Civil Liberties Union of

Massachusetts, Inc., have no parent corporations. They have no stock, so therefore no publicly

held company owns 10% or more of their stock.




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                              INTEREST OF AMICI CURIAE1

       The American Civil Liberties Union (ACLU) is a nationwide, nonprofit, nonpartisan

organization dedicated to defending the principles embodied in the Constitution and our nation’s

civil rights laws. Since its founding in 1920, the ACLU and its affiliates have frequently appeared

before courts throughout the country in First Amendment cases, both as direct counsel and as

amicus curiae. This includes appearing in defamation cases, see, e.g., Frese v. Formella, 53 F.4th

1 (1st Cir. 2022), and specifically filing at the motion-to-dismiss stage in defamation cases in an

effort to preserve a pleading standard that satisfies the First Amendment. See, e.g., Brief of ACLU

as Amicus Curiae, Coral Ridge Ministries Media v. Amazon, No. 19-14125 (11th Cir. March 30,

2020); Order, Energy Transfer Equity, LP v. Greenpeace International, No. 1:17-cv-00173-BRW

(D. N. Da. Feb. 14, 2019); Green Grp. Holdings, LLC v. Schaeffer, No. CV 16-00145-CG-N, 2016

WL 6023841 (S.D. Ala. Oct. 13, 2016).

       The American Civil Liberties Union of Massachusetts (ACLUM) is a state affiliate of the

national ACLU dedicated to protecting the civil rights and civil liberties of residents of the

Commonwealth of Massachusetts. ACLUM regularly appears and files amicus briefs in cases

involving First Amendment issues. See, e.g., Project Veritas Action Fund v. Rollins, 982 F.3d 813

(1st Cir. 2022); Doe v. Hopkinton Pub. Schs., 19 F.4th 493 (1st Cir. 2021); Parker v. Hurley, 514

F.3d 87 (1st Cir. 2008); Pyle v. S. Hadley Sch. Comm., 55 F.3d 20, 22 (1st Cir. 1995). See also

Brief of ACLUM as Amicus Curiae Supporting Neither Party, L.M. v. Middleborough, Nos. 23-

1535, 23-1645 (1st Cir. appeal docketed Aug. 11, 2023).



1
  Amici confirm that no party or counsel for any party authored this brief in whole or in part and
that no person other than amici or their counsel made any monetary contribution intended to fund
the preparation or submission of this brief.
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                                        INTRODUCTION

       It is black letter law that the First Amendment protects statements of opinion based on

disclosed nondefamatory facts from defamation liability. This doctrine protects even stated views

that could be read as facts—including potentially damaging or upsetting facts—as long as the bases

for the views are disclosed and are not themselves defamatory. Piccone v. Bartels, 785 F.3d 766,

771 (1st Cir. 2015).

       This doctrine, which is essential for many areas of public debate, is also critical to scientific

discussions and academic inquiry. It ensures that people can disagree about scientific findings, the

validity of research methodologies and statistical models, and the interpretation of data without

fear of defamation liability—as long as they disclose the factual basis for their stated opinions. It

also ensures that members of the public can make up their own minds, without being limited to

what judges and juries deem “true.” And such public conversation should ultimately improve the

state of science and our understanding of the world.

       Without this protection, individuals who engage in reasoned disagreements about science

and academic research would be too easy to silence through defamation lawsuits. Already,

researchers who question seemingly established results, scientific orthodoxy, or prominent

scholars are targets of defamation lawsuits, and that has a chilling effect not only on them, but on

their peers and the rest of the academic community. This includes scientists who, notwithstanding

the lack of incentives in traditional academia to do so, are committed to revisiting published results

to independently replicate, verify, assess—and, where they believe they have reason to do so,

criticize—the underlying research.

       So long as they disclose the factual basis on which they rely, researchers must be free to

independently opine on academic and scientific findings—including, crucially on the veracity of

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research methodologies, analyses, and conclusions—without fear that doing so will subject them

to costly litigation. A culture where researchers self-censor ultimately deprives the public of the

benefits that come with robust academic and scientific collaboration, debate, and independent

review.

          Here, the Plaintiff has brought defamation claims against three researchers (“the Data

Colada Defendants”) who opined that at least four of her authored studies include faked or

manipulated data. In evaluating these claims on a motion to dismiss, this Court should rigorously

apply the longstanding rule that statements of opinion based on disclosed nondefamatory facts are

not actionable because they are protected by the First Amendment.

                                          ARGUMENT

          I.     The First Amendment protects statements of opinion based on disclosed,
                 nondefamatory facts.

          The First Amendment was designed to “assure unfettered interchange of ideas.” Roth v.

United States, 354 U.S. 476, 484 (1957). Accordingly, “[u]nder the First Amendment there is no

such thing as a false idea.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 339 (1974). See also Scholz

v. Delp, 473 Mass. 242, 249–50 (2015) (“[T]o be actionable, [a] statement must be one of fact

rather than of opinion.”). In a democracy, it is fundamental that individuals must be able to draw

their own conclusions about the world and share those conclusions with others. The same is true

for scientific inquiry.

          When it comes to competing ideas, including competing opinions that might arise in

academic or scientific debates, the public square, not the courtroom, is the appropriate forum to

contest conclusions. “However pernicious [an idea] may seem, we depend for its correction not on

the conscience of judges and juries but on the competition of other ideas.” Gertz, 418 U.S. at 339–

40. Nothing could be more fundamental to the process of collective scientific inquiry than the
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ability of individuals to form, test, and hold their own hypotheses, analyses, and conclusions, often

based on the same set of facts. Indeed, paradigm shifts in scientific understanding throughout

history—including the heliocentric theory, the theory of evolution, and the theory of relativity—

have been driven by thinkers whose ideas ran contrary to accepted wisdom, and who criticized

theories advanced by their more powerful and better respected contemporaries.

       The First Amendment’s protection extends to statements of opinion based on disclosed,

nondefamatory facts. As the First Circuit and the Supreme Judicial Court of Massachusetts have

made clear, “[a]n expression of opinion based on disclosed or assumed nondefamatory facts is

not itself sufficient for an action of defamation.” Yohe v. Nugent, 321 F.3d 35, 42 (1st Cir. 2003).

See also Scholz, 473 Mass at 251 (same) (citing Dulgarian v. Stone, 420 Mass. 843, 850 (1995).

This reaches even statements that could be read as statements of fact—including “provably false

statement[s]”—as long as “‘it is plain that the speaker is expressing a subjective view, an

interpretation, a theory, conjecture, or surmise, rather than claiming to be in possession of

objectively verifiable facts.’” Riley v. Harr, 292 F.3d 282, 289 (1st Cir. 2002) (quoting Gray v.

St. Martin’s Press, Inc., 221 F.3d 243, 248 (1st Cir. 2000)).

       And the rule extends to all statements of opinion accompanied by their nondefamatory

factual bases, “no matter how unjustified or unreasonable [or derogatory] the opinion may be,”

Yohe, 321 F.3d at 42, because “readers can interpret the factual statements and decide for

themselves whether the writer’s opinion was justified.” Dunn v. Gannett New York Newspapers,

Inc., 833 F.2d 446, 454 (3d Cir. 1987). Applying this principle in Scholz, for example, the

Massachusetts Supreme Judicial Court found that even statements in a publication’s headlines that

appeared to imply that the defamation plaintiff was responsible for a third party’s suicide were

protected because they “could not have been understood by a reasonable reader to have been

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anything but opinions regarding the reason [that third party] committed suicide[,]” and the logical

nexus between the nondefamatory facts disclosed in the article and the opinion based on those

facts was sufficiently clear. Scholz, 473 Mass. at 251, 253 . Similarly, the Seventh Circuit held that

a narrative historian was offering protected opinion when he characterized a defamation plaintiff

as a criminally neglectful parent and blamed the plaintiff’s habitual alcohol use for the loss of a

job because he accompanied those statements with factual information gleaned from interviews

with the plaintiffs’ family members and public records. Haynes v. Alfred A. Knopf, Inc., 8 F.3d

1222, 1227 (7th Cir. 1993). And a court in this District held that a publication expressed a protected

opinion where it challenged the veracity of a defamation plaintiff’s claims that he had invented e-

mail because the speaker was working from a universe of disclosed facts. Ayyadurai v. Floor64,

Inc. d/b/a Techdirt, 270 F. Supp. 3d 343, 363–64 (D. Mass. 2017).

       Thus, even statements of opinion that may be controversial, ultimately unjustifiable, or

regrettably nasty are entitled to First Amendment protection, including statements that may appear

on their face to advance a harmful factual conclusion about the complainant.

       II.     Ensuring that statements of opinion based on disclosed nondefamatory facts
               are protected from defamation liability is essential for robust scientific
               inquiry and academic debate.

       This rule is particularly relevant to academic and scientific inquiry, where researchers

commonly reach independent conclusions based on the same set of facts. When researchers show

the work underlying their inferences, their statements become “a self-contained give-and-take,”

where conclusions, including “assertion[s] of deceit,” can only be understood as “personal

conclusions.” Phantom Touring, Inc. v. Affiliated Publications, 953 F.2d 724, 730 (1st Cir. 1992)

(holding that a series of articles accusing complainant of deceptive marketing practices were

protected because their author had provided adequate factual context for the accusations).

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       As courts applying the rule have noted, “[when] an author writing about a controversial

occurrence . . . offers his personal perspective about some of its ambiguities and disputed facts, his

statements should generally be protected by the First Amendment.” Partington v. Bugliosi, 56 F.3d

1147, 1154 (9th Cir. 1995). Without this protection, “there would be no room for expressions of

opinion by commentators, experts in a field, figures closely involved in a public controversy, or

others whose perspective might be of interest to the public.” Id. So long as researchers work from

the same or a publicly available set of facts, the field of scientific inquiry requires that they be

afforded ample space to reach vastly different conclusions.

       Indeed, academic and scientific advances rely on the ability of scientists and researchers to

debate scientific truth, revisit and retest purportedly established scientific findings, and speak

plainly when they believe past results or publications were unfounded. To do so, they must be able

to express their opinions—including suspicions of data falsification—while disclosing the factual

bases that led them there. Courts interpreting the First Amendment rule protecting statements of

opinion based on disclosed nondefamatory facts have clearly articulated the importance of this rule

for academic debate and scientific research.

       For example, in Underwager v. Salter, the Seventh Circuit applied the rule to a dispute

among social science researchers. 22 F.3d 730 (7th Cir. 1994). In that case, two coauthors of

clinical psychology books sued a social science researcher for defamation after the researcher

criticized their methods and literature review and accused them of misrepresenting sources and

quotes and using them out of context. Id. at 731–32. The Seventh Circuit rejected the clinical

psychologists’ claim and held that the critic’s statements were protected. In doing so, the Seventh

Circuit made clear that “[s]cientific controversies must be settled by the methods of science rather

than by the methods of litigation. More papers, more discussion, better data, and more satisfactory

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models—not larger awards of damages—mark the path toward superior understanding of the

world around us.” Id. at 736 (internal citation omitted).

       Similarly, in Ayyadurai v. Floor64, Inc. d/b/a Techdirt, a scientist who claimed to be the

inventor of e-mail—and who had been deemed so in many reputable public sources—sued a

publication for writing that he was not. 270 F. Supp. 3d 343. Without questioning widely reported

facts supporting the scientist’s claim—such as a relevant copyright the scientist had been the first

to secure—the publication advanced an alternate conclusion: that the idea for e-mail pre-dated the

scientist’s implementation of the concept. Id. at 360–61. Applying the First Circuit’s rule

protecting statements of opinion on the basis of disclosed facts, a court in this district held that the

publication’s alternate conclusion was protected. Id. “[B]y providing hyperlinks to the relevant

information, the articles enable readers to review the underlying information for themselves and

reach their own conclusions.” Id. Accordingly, the statements were not actionable. Id.

       This rule is relevant to this case. For example, the complaint alleges that one statement

Data Colada Defendants made to the Harvard University Inquiry Committee about “out of sort”

data was defamatory because it contained “unwarranted inferences” based on “perceived

anomalies” in Plaintiff’s research. Compl. ¶ 105. The complaint does not allege that there were no

“perceived anomalies.” Instead, it alleges that Plaintiff “provided plausible explanations for

the[m]” that differed from Data Colada’s conclusions. Id. ¶ 131. This type of disagreement falls

squarely within the scope of First Amendment protection: there is no cause of action for

defamation where a complainant “challenges the conclusions drawn from the available facts,” but




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“does not challenge the underlying facts themselves.” Ayyadurai, 22 F.3d at 361. An inference

based on disclosed facts—no matter how unwarranted—is protected.2

       III.    Robust First Amendment protections are particularly important at the
               motion to dismiss stage of defamation lawsuits because the prospect of costly
               litigation chills protected speech.

       In defamation suits, rigorously upholding First Amendment protections at the motion to

dismiss stage is crucial to ensure that individuals who would otherwise engage in protected speech

do not self-censor for fear of being embroiled in costly litigation. See David Boies, The Chilling

Effect of Libel Defamation Costs: The Problem and Possible Solution, 39 St. Louis U. L.J. 1207

(1994). The chilling effect of potential litigation privileges the speech of the powerful and well-

resourced, who can better bear the cost of vindicating their First Amendment rights at trial. Id. On

the other hand, speakers with access to fewer resources or specialized knowledge are more likely

to silence themselves rather than risk the time and expense needed to defend themselves, even

from frivolous defamation claims—ultimately leading certain perspectives to be underrepresented

in the marketplace of ideas. In light of this concern, trial courts adjudicating motions to dismiss in

defamation cases should ensure that all claims barred as a matter of law by the First Amendment

are dismissed without proceeding to trial. “[B]ecause the threat of protracted litigation could have

a chilling effect on the constitutionally protected right of free speech, prompt resolution of

defamation actions,” including by “motion to dismiss, is appropriate . . .” Fry v. Lee, 408 P.3d 843,

849 (Colo. Ct. App. 2013). See also Marder v. TEGNA Inc., 2020 WL 3496447 at *3 (S.D. Fla.

2020) (quoting Stewart v. Sun Sentinel Co., 695 So. 2d 360, 363 (Fla. 4th DCA 1997) (“[W]here

the facts are not in dispute in defamation cases, … pretrial dispositions are especially appropriate



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 Amici do not purport to address all of the alleged defamatory statements, or whether they are
necessarily covered by the doctrine of opinion based on disclosed nondefamatory facts.
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because of the chilling effect these cases have on freedom of speech.”) (internal quotations

omitted).

       When the only statements at issue for a particular defamation claim are statements of

opinion accompanied by disclosed nondefamatory facts, for example, a court may dismiss those

claims on their face. See, e.g., McKee v. Cosby, 874 F.3d 54, 60–61 (1st Cir. 2017) (upholding a

district court’s dismissal of defamation claims where statements at issue were opinions

accompanied by their nondefamatory factual bases); Ayyadurai, 270 F. Supp. 3d at 370 (granting

in part a motion to dismiss defamation claims because they qualified as opinions based on

disclosed facts, protected as a matter of law.).

                                          CONCLUSION

       For the foregoing reasons, in evaluating whether the defamation claims should be

dismissed, the Court should carefully and rigorously apply the longstanding principle that the First

Amendment shields statements of opinion based on disclosed nondefamatory facts.



 Dated: November 22, 2023                           Respectfully submitted,

                                                    /s/ Jessie J. Rossman

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                            CERTIFICATE OF COMPLIANCE

       Pursuant to L.R. 5.1 and L.R. 7.1, I certify that the Brief of Amicus Curiae American

Civil Liberties Union in Support of Neither Party was prepared on a computer, using Times New

Roman (proportionally spaced) typeface, 12-point type, double-spaced, with 12-point single-

spaced footnotes and 12-point single-spaced block quotations. The word count, as generated by

Microsoft Word, is 2,652.



Dated: November 22, 2023                           /s/ Jessie J. Rossman

                                                   Jessie J. Rossman




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2023, I electronically filed the foregoing with the

Clerk of the Court of the United States District Court for the District of Massachusetts by using

the CM/ECF system. All participants are registered CM/ECF users, and will be served by the

CM/ECF system.

                                                             /s/ Jessie J. Rossman

                                                             Jessie J. Rossman




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